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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-12-691
                                                  §
                                                  §
                                                  §
WILLIAM CRAIG NOONAN                              §
DAVID BARRY                                       §

                                             ORDER

       The government filed an unopposed motion for extension of time to respond to the motions

and for a hearing on those motions, (Docket Entry No. 42). The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendant in a speedy trial. The motion is GRANTED. A motion hearing on the

motions to suppress and to dismiss is set for December 17, 2013, at 9:00 a.m. The pretrial

conference and jury trial deadlines will be reset at this hearing.


               SIGNED on November 12, 2013, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
